Case 1:23-cv-01375-MN         Document 73       Filed 02/21/25      Page 1 of 2 PageID #: 1228




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 10X GENOMICS, INC. and PROGNOSYS                )
 BIOSCIENCES, INC.,                              )
                                                 )
                       Plaintiffs,               )
                                                 )   C.A. No. 23-1375 (MN)
                 v.                              )
                                                 )
 CURIO BIOSCIENCES, INC.,                        )
                                                 )
                       Defendant.                )

                 ORDER ADOPTING REPORT AND RECOMMENDATION

       At Wilmington, this 21st day of February 2025:

       WHEREAS, on January 29, 2025, Magistrate Judge Burke issued a Report and

Recommendation (“the Report”) (D.I. 70) in this action, recommending that the Court grant-in-

part and deny-in-part Plaintiffs 10X Genomics, Inc. and Prognosys Biosciences, Inc.’s Motion to

Dismiss Curio Biosciences, Inc.’s First through Fourth Counterclaims (D.I. 51); and

       WHEREAS, no party filed objections to the Report pursuant to 72(b)(2) of the Federal

Rules of Civil Procedure in the prescribed period, and the Court finding no clear error on the face

of the record;

       THEREFORE, IT IS HEREBY ORDERED that the Report and Recommendation is

ADOPTED.

       Plaintiffs 10X Genomics, Inc. and Prognosys Biosciences, Inc.’s Motion to Dismiss Curio

Biosciences, Inc.’s First through Fourth Counterclaims (D.I. 51) is GRANTED-IN-PART and

DENIED-IN-PART.

       The motion is GRANTED without prejudice as to the First and Third Counterclaims and

DENIED as to the Second Counterclaim.
Case 1:23-cv-01375-MN        Document 73      Filed 02/21/25     Page 2 of 2 PageID #: 1229




       As for the Fourth Counterclaim, the motion is GRANTED without prejudice as to those

portions of the counterclaim premised upon the grounds for relief stated in the First and Third

Counterclaims and DENIED as to the portions of the counterclaim premised upon the grounds for

relief stated in the Second Counterclaim.

       IT IS FURTHER ORDERED that the Report’s recommendation regarding the bifurcation

and stay request is ADOPTED. (See D.I. 70 at 23-24).




                                                   The Honorable Maryellen Noreika
                                                   United States District Judge




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